                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN
                              AT LAW AND IN ADMIRALTY


 UNITED STATES OF AMERICA,

                       Plaintiff,

                v.                                      Case No.

 ONE 2018 DODGE CHALLENGER,
 VEHICLE IDENTIFICATION NUMBER
 (VIN) 2C3CDZFJ4JH204503, WITH ALL
 APPURTENANCES AND ATTACHMENTS
 THEREON,

                       Defendants.


              VERIFIED COMPLAINT FOR CIVIL FORFEITURE IN REM


       The United States of America, by its attorneys, Matthew D. Krueger, United States

Attorney for the Eastern District of Wisconsin, and Scott J. Campbell, Assistant United States

Attorney for this district, alleges the following in accordance with Supplemental Rule G(2) of the

Federal Rules of Civil Procedure:

                                      Nature of the Action

       1.      This is a civil action to forfeit property to the United States of America, under

21 U.S.C. § 881(a)(4), for violations of 21 U.S.C. § 841(a)(1).

                                     The Defendant In Rem

       2.      The defendant property, one 2018 Dodge Challenger bearing vehicle

identification number 2C3CDZFJ4JH204503, with all appurtenances and attachments thereon,

was seized on or about November 2, 2019, from Julie Ziolkowski at or near 9502 South Howell

Avenue, Oak Creek, Wisconsin.

       3.      The defendant vehicle is registered to Julie Ziolkowski.


            Case 2:20-cv-01234-LA Filed 08/11/20 Page 1 of 7 Document 1
       4.      The defendant vehicle is presently in the custody of the United States Marshal

Service in Milwaukee, Wisconsin.

                                      Jurisdiction and Venue

       5.      This Court has subject matter jurisdiction over an action commenced by the

United States under 28 U.S.C. § 1345, and over an action for forfeiture under 28 U.S.C.

§ 1355(a).

       6.      This Court has in rem jurisdiction over the defendant property under 28 U.S.C.

§ 1355(b).

       7.      Venue is proper in this district under 28 U.S.C. § 1355(b)(1), because the acts or

omissions giving rise to the forfeiture occurred in this district.

                                         Basis for Forfeiture

       8.      The defendant property, one 2018 Dodge Challenger bearing vehicle

identification number 2C3CDZFJ4JH204503, is subject to forfeiture to the United States of

America under 21 U.S.C. § 881(a)(4) because it was used, or intended to be used, to transport, or

to facilitate the transportation, sale, receipt, possession, or concealment of a controlled substance

in violation of 21 U.S.C. § 841(a)(1).

                                                Facts

       9.      Cocaine is a Schedule II controlled substance under 21 U.S.C. § 812.

September 23, 2019 incident involving the defendant 2018 Dodge Challenger

       10.     On September 23, 2019, the defendant 2018 Dodge Challenger (the “Challenger”)

was parked for about 20 minutes at a gas pump of a Kwik Trip station located in Oak Creek,

Wisconsin.

       11.     A male individual having the initials M.M. was the driver of the Challenger, and

Julie Ziolkowski was in the front passenger seat.

                                                   2

             Case 2:20-cv-01234-LA Filed 08/11/20 Page 2 of 7 Document 1
       12.     After spending about 20 minutes at the pump, the Challenger drove to near the car

wash area of the Kwik Trip and parked there.

       13.     During the next approximately 25 minutes while the Challenger was parked near

the car wash area of the Kwik Trip, neither M.M. nor Julie Ziolkowski conducted any business at

Kwik Trip or any nearby businesses.

       14.     Approximately 25 minutes after the Challenger had parked near the car wash area

of the Kwik Trip, a Dodge Ram pulled up in front of the Challenger. M.M. exited the Challenger

and entered the Dodge Ram. After about one minute, M.M. exited the Dodge Ram and returned

to the Challenger.

       15.     After M.M. exited the Dodge Ram, the Dodge Ram drove away. Officers

conducted a stop on the Dodge Ram and seized approximately four grams of marijuana, a scale

with powder residue, and $3,265.

       16.     After M.M. returned to the Challenger, the Challenger exited the Kwik Trip lot

and drove away. Officers conducted a stop on the Challenger.

       17.     A drug detection canine conducted a walk-around of the Challenger and gave a

positive alert to the Challenger.

       18.     Inside the Challenger, among other things, were the following:

               A.      Approximately 12.4 grams of cocaine inside a jar on the floor in front of
                       Julie Ziolkowski,

               B.      Approximately 0.5 grams of crack cocaine on the driver’s seat,

               C.      Paraphernalia, and

               D.      A digital scale.

       19.     Inside Julie Ziolkowski’s purse were 2.5 grams of crack cocaine.




                                                3

             Case 2:20-cv-01234-LA Filed 08/11/20 Page 3 of 7 Document 1
November 2, 2019 incident involving the defendant 2018 Dodge Challenger

       20.     On November 2, 2019, officers conducted a stop on the Challenger in Oak Creek,

Wisconsin. M.M. was the driver, and Julie Ziolkowski was the front passenger.

       21.     On November 2, 2019, during the stop, Julie Ziolkowski was in possession of,

among other things, a total of approximately 19.8 grams of crack cocaine, which was located as

follows:

               A.      Approximately 0.1 grams of crack cocaine on the floorboard of the
                       Challenger where Ziolkowski had been seated,

               B.      Approximately 1.5 grams of crack cocaine in Ziolkowski’s purse, and

               C.      Two baggies of crack cocaine in the pocket of Ziolkowski’s jeans. One
                       baggie contained approximately 7.2 grams of crack cocaine, and the other
                       baggie contained approximately 11 grams of crack cocaine.

       22.     On November 2, 2019, during the stop, M.M. was in possession of a total of

approximately 0.5 grams of crack cocaine.

                             Julie Ziolkowski’s State Drug Charges

       23.     On November 7, 2019, Julie Ziolkowski was charged in Milwaukee County

Circuit Court, Case No. 19CF4950, with two counts of possession of cocaine with intent to

deliver.

       24.     A status conference in Case No. 19CF4950 is scheduled for September 10, 2020.

                             Administrative Forfeiture Proceedings

       25.     The Drug Enforcement Administration (“DEA”) began administrative forfeiture

proceedings against the 2018 Dodge Challenger bearing vehicle identification number

2C3CDZFJ4JH204503 as property that was used, or intended to be used, to transport, or to

facilitate the transportation, sale, receipt, possession, or concealment of a controlled substance.




                                                  4

             Case 2:20-cv-01234-LA Filed 08/11/20 Page 4 of 7 Document 1
        26.     On or about January 15, 2020, Julie Ziolkowski filed a claim with the DEA in the

administrative forfeiture proceedings to the defendant 2018 Dodge Challenger bearing vehicle

identification number 2C3CDZFJ4JH204503.

                                    Warrant for Arrest In Rem

        27.     Upon the filing of this complaint, the plaintiff requests that the Court issue an

arrest warrant in rem pursuant to Supplemental Rule G(3)(b), which the plaintiff will execute

upon the defendant property pursuant to 28 U.S.C. § 1355(d) and Supplemental Rule G(3)(c).

                                           Claims for Relief

        28.     The plaintiff alleges and incorporates by reference the paragraphs above.

        29.     By the foregoing and other acts, the defendant property, one 2018 Dodge

Challenger bearing vehicle identification number 2C3CDZFJ4JH204503, was used, or intended

to be used, to transport, or to facilitate the transportation, sale, receipt, possession, or

concealment of a controlled substance in violation of 21 U.S.C. § 841(a)(1).

        30.     The defendant 2018 Dodge Challenger bearing vehicle identification number

2C3CDZFJ4JH204503 is therefore subject to forfeiture to the United States of America under

21 U.S.C. § 881(a)(4).

        WHEREFORE, the United States of America prays that a warrant of arrest for the

defendant property be issued; that due notice be given to all interested parties to appear and show

cause why the forfeiture should not be decreed; that judgment declare the defendant property to

be condemned and forfeited to the United States of America for disposition according to law;

and that the United States of America be granted such other and further relief as this Court may

deem just and equitable, together with the costs and disbursements of this action.




                                                    5

              Case 2:20-cv-01234-LA Filed 08/11/20 Page 5 of 7 Document 1
Dated at Milwaukee, Wisconsin, this 11th day of August, 2020.

                                    Respectfully submitted,

                                    MATTHEW D. KRUEGER
                                    United States Attorney


                             By:     s/SCOTT J. CAMPBELL
                                    SCOTT J. CAMPBELL
                                    Assistant United States Attorney
                                    Scott J. Campbell Bar Number: 1017721
                                    Attorney for Plaintiff
                                    Office of the United States Attorney
                                    Eastern District of Wisconsin
                                    517 East Wisconsin Avenue, Room 530
                                    Milwaukee, Wisconsin 53202
                                    Telephone: (414) 297-1700
                                    Fax: (414) 297-1738
                                    E-Mail: scott.campbell@usdoj.gov




                                       6

   Case 2:20-cv-01234-LA Filed 08/11/20 Page 6 of 7 Document 1
                                           Verification

       I, Dave Ashenhurst, hereby verify and declare under penalty of perjury that I am a

Lieutenant of Detectives with the Oak Creek Police Department, that I have read the foregoing

Verified Complaint for Civil Forfeiture in rem and know the contents thereof, and that the factual

matters contained in paragraphs 9 through 22 of the Verified Complaint are true to my own

knowledge.

       The sources of my knowledge and information are the official files and records of the

United States and the Oak Creek Police Department, information supplied to me by other law

enforcement officers, as well as my investigation of this case, together with others, as a

Lieutenant of Detectives with the Oak Creek Police Department.

       I hereby verify and declare under penalty of perjury that the foregoing is true and correct.



Date: August 11, 2020                          s/LT. DAVID S. ASHENHURST
                                              Dave Ashenhurst
                                              Lieutenant of Detectives
                                              Oak Creek Police Department




                                                 7

           Case 2:20-cv-01234-LA Filed 08/11/20 Page 7 of 7 Document 1
